                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION

CRAIG SHIPP                                                                         PLAINTIFF


v.                                   Case No. 4:18-cv-4017


STEVEN ARNOLD; DR.
MIMO LEMDJA; LENORA
TURNER; KINDALL SMITH;
and CORRECT CARE SOLUTIONS, LLC                                                 DEFENDANTS

                                         JUDGMENT

        Before the Court is Separate Defendant Steven Arnold’s (“Arnold”) Motion for Summary

Judgment. (ECF No. 105). Plaintiff Craig Shipp has responded. (ECF No. 120). Arnold has

replied. (ECF No. 126).

        Also before the Court is a Motion for Summary Judgment (ECF No. 109) filed by Separate

Defendants Dr. Mimo Lemdja; Lenora Turner; Kindall Smith; and Correct Care Solutions, LLC

(collectively, the “Medical Defendants”). Plaintiff has responded. (ECF No. 123). The Medical

Defendants have replied. (ECF No. 129). The Court finds these matters ripe for consideration.

        For the reasons set out in the two memorandum opinions of even date, the Court finds that

the instant motions (ECF Nos. 105 and 109) should be and hereby are GRANTED. Plaintiff’s

section 1983 claims against Arnold and the Medical Defendants are hereby DISMISSED WITH

PREJUDICE. Plaintiff’s state-law claims of negligence against the Medical Defendants are

hereby DISMISSED WITHOUT PREJUDICE. The Clerk of Court is DIRECTED to close this

case.

        IT IS SO ORDERED, this 15th day of July, 2020.

                                                           /s/ Susan O. Hickey
                                                           Susan O. Hickey
                                                           Chief United States District Judge
